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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Criminal Case No. 19-cr-00098-CMA

  UNITED STATES OF AMERICA,

                 Plaintiff,

  v.

 1.    LEONARD LUTON,

                 Defendant.


                          PRELIMINARY ORDER OF FORFEITURE
                               FOR A SUBSTITUTE ASSET


           This matter is before the Court on the United States= Motion for Preliminary

  Order of Forfeiture for a Substitute Asset pursuant to 21 U.S.C. § 853(p) and Fed. R.

  Crim. P. 32.2(b)(2)(A). The Court having read said Motion and being fully advised in

  the premises finds:

       •     on February 13, 2020, a jury found defendant Leonard Luton guilty of

             Counts One through Three and Counts Five through Ten of the

             Superseding Indictment, in violation of 18 U.S.C. §§ 1349, 1341, and 2;

       •     on June 8, 2020 a Preliminary Order of Forfeiture was entered, which

             included a forfeiture money judgment against defendant Leonard Luton

             for an amount that was to be determined later at sentencing, which

             represents the proceeds obtained by the defendant and by the scheme;

       •     on August 10, 2021, defendant Leonard Luton was sentenced.

             Defendant Leonard Luton’s sentence included a personal money



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            judgment in the amount of $484,123.16, and he was ordered to pay

            restitution to the victim in the amount of $884,947.41;

       •    one or more of the factors articulated in 21 U.S.C. §853(p) has been

            established;

       •    the substitute asset, identified as a 2008 Honda CR-V bearing VIN:

            5J6RE48738L0479 02 seized on January 22, 2019, in Estes Park,

            Colorado, in which defendant Leonard Luton has an interest, is to be

            forfeited and applied to defendant’s forfeiture money judgment totaling

            $484,123.16; and

       •    the United States does not seek to forfeit more than the $484,123.16

            money judgment.

       Therefore, it is ORDERED that:

       •    The United States' Motion for Preliminary Order of Forfeiture for a

            Substitute Asset is GRANTED;

       •    Pursuant to the provisions of 21 U.S.C. §853(p), as incorporated by 28

            U.S.C. § 2461, and Fed. R. Crim. P. 32.2(e)(1)(B), defendant Leonard

            Luton’s interest in the substitute asset identified above is hereby forfeited

            to the United States for disposition according to law; and

       •    the Court shall retain jurisdiction pursuant to Fed. R. Crim. P. 32.2(e)(1)

            to enter any further orders necessary for the forfeiture and disposition of

            the substitute asset and to entertain any third-party claims that may be

            asserted.


           SO ORDERED this          day of                               , 2021.

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                                          BY THE COURT:


                                          _________________________
                                          CHRISTINE M. ARGUELLO
                                          United States District Judge




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